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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                  Case No.: 1:23-md-03076-KMM

    IN RE:

    FTX CRYPTOCURRENCY EXCHANGE
    COLLAPSE LITIGATION


    THIS DOCUMENT RELATES TO:

    Lahav et al. v. Binance Holdings Limited et al.,
    No. 1:24-cv-21421-MOORE


                                    NOTICE OF APPEARANCE

          Lindy K. Keown, Esquire, of the law firm of Baker & Hostetler, LLP, 200 South Orange

   Avenue, Suite 2300, Orlando, Florida 32801, hereby gives her notice of appearance as counsel for

   Defendant Changpeng Zhao and requests that all pleadings and other papers filed herein be served

   upon her.

         Date: April 17, 2025                  Respectfully submitted,

                                               s/ Lindy K. Keown
                                               Lindy K. Keown
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                                     CERTIFICATE OF SERVICE

          I hereby certify that, on April 17, 2025, a true and correct copy of the foregoing has been

   electronically filed with Clerk of the Court using the Court’s CM/ECF system, which will send

   notification of electronic filing to all counsel of record.


                                                          s/ Lindy K. Keown
                                                          Lindy K. Keown




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